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                                                                             OCT 23 2018
 4   Telephone: (671) 477-8064/5
     Fascimile: (671) 477-5297 (LAWS)                                DISTRICT COURT OF GUAM
 5                                                                         HAGATRA; GUAM
     Attorneysfor Plaintiff
 6   L.J.A. '

 7                               IN THE UNITED STATES DISTRICT COURT
                                      FOR THE DISTRICT OF GUAM
 8
      L.J.A.,
 9
                                                                CIVIL ACTION NO.
                                                                                           18-00040
                                  Plaintiff,
10
                         v.                                     COMPLAINT
11
      ROMAN CATHOLIC
12    ARCHBISHOP OF AGANA, a Corporation
      sole; CAPUCHIN FRANCISCANS;                               JURY TRIAL DEMANDED
13    CAPUCHINS FRANCISCANS PROVINCE
      OF ST. MARY; CAPUCHIN
14    FRANCISCANS CUSTODY OF STAR OF
      THE SEA; DOE ENTITIES 1-5; and DOE-
15    INDIVIDUALS 6-50, inclusive,

16                                Defendants.

17
              Plaintiff L.J.A. ("L.J.A.") files this Complaint ("the Complaint") for damages based on priorsexual
18
     abuse against Defendants Archbishop of Agana, a corporation sole, Capuchin Franciscans, Capuchin
19
     Franciscans Province of St. Mary, Capuchin Franciscans Custody of Star of the Sea, and DOES 1-50
20
     ("Defendants").
21
                                                          I.
22                                             JURISDICTION AND VENUE

23
                1.   This Court has subject matter jurisdiction overthis matter under 28 U.S.C. § 1332 because all
24
     parties are citizens of diverse states and the amount incontroversy exceeds $75,000.00 exclusive of interest,
25
     fees, and costs.
26
              2.     This Court has personal jurisdictionover this matter because Defendants purposefully availed
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     themselves to the benefit of the laws of this judicial district by regularlytransacting and/or conducting
28
     business in this state.




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 1           3. Venue is appropriate under 28 U.S.C. § 1391(b)(2) because this is thejudicialdistrict in which

 2   a substantial partof the events or omissions giving rise to the claim occurred, andor a substantial partof

 3   property that is the subjectof the actionis situated.

 4                                                           II.
                                                        PARTIES
 5
             4.   At all times relevant hereto, L.J.A. is an adult resident of Guam.
 6
             5.   At all times relevant hereto, and uponinformation and belief, Roman Catholic Archbishop of
7
     Agana, a corporation sole, in accordance withthe discipline andgovernment of the Roman Catholic Church,
 8
     is the legal name for Defendant Archbishop of Agana, also known as Archdiocese of Agana ("Agana
 9
     Archdiocese"), which is andhas been at all times relevant hereto a non-profit corporation organized and
10
     existing under the laws of Guam, authorized to conduct business and conducting business in Guam, with its
11
     principal place ofbusiness inGuam. The Agana Archdiocese is anentity under the control ofthe Holy See,
12
     based inVatican City, Rome, Italy, and assuch constitutes a citizen of a foreign country forpurposes of
13
     diversity jurisdiction. Agana Archdiocese is responsible and liable inwhole or inpart, directly or indirectly,
14
     for the wrongful acts complained of herein.
15
             6. Atall times relevant hereto, and upon information and belief, the Capuchin Franciscans, the
16
     Capuchin Franciscans Province ofSt. Mary, and the Capuchin Franciscans Vice Province Custody ofStar of
17
     the Sea (collectively referred toherein asthe "Capuchins"), are a religious order ofpriests, brothers, and
18
     friars, who serve various Catholic positions throughout the United States, including positions inGuam. Inor
19
     about 1939, the Capuchin Franciscans began their missions on Guam. The Capuchin Franciscans are divided
20
     into geographic areas called provinces, and Defendant Capuchin Franciscans Province ofSt. Mary, is one of
21
     those geographic areas, with its headquarters inthe State ofNew York. In orabout 1952, Guam was
22
     assigned tothe Capuchin Franciscans Province ofSt. Mary. By the early 1980s, there were almost a dozen
23
     Chamorros (the indigenous people ofGuam) intheCapuchin Franciscan Order, either aspriests, brothers or
24
     friars. Atalltimes relevant hereto, and upon information and belief, theCapuchin Franciscans Province of
25
     St. Mary, regularly assigned Capuchin Brothers to Guam, and acted as anagent oftheCapuchin Franciscans,
26
     whose main headquarters is in Rome, Italy, and the Capuchin Franciscans Province of St.Mary wasunder its
27
     direction, supervision, and jurisdiction. In or about 1982, the Capuchin Franciscans established theGuam
28
     community as the Star of the Sea, a Vice Province of the Capuchin Franciscans Province of St.Mary. Upon




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 1   information and belief, the Capuchin Franciscans had authority and control over both the Capuchin
 2   Franciscans Province of St. Mary and Capuchin Franciscans Vice Province Custody of Star of the Sea,
 3   including Father George Maddock and the other Capuchin Priest, Brothers, and Friars inthat province. Upon
 4   further information and belief, theCapuchin defendants participated in, if not directly assigned Father
 5   George Maddock to serve the Agana Archdiocese in Guam, and the Capuchin defendants materially

 6   benefited from thatassignment. The Capuchins are responsible and liable in whole or in part, directly or

7    indirectly, for the wrongfulactscomplained of herein.

 8           7.   Upon information andbelief,the Agana Archdiocese andCapuchins hadjoint responsibility

 9   (including but not limitedto the spiritual care) for parishes on Guam, including the Yona Parish, during all

10   relevant times.

11           8.   At alltimes relevant hereto, Father Geroge Maddock ("Maddock"), now deceased, was an

12   individual and an agent of the Agana Archdiocese and specifically a Capuchin Priest in Guam. Maddock
13   became a Capuchin in 1955 and was ordained as aCatholic Priest in 1964. Maddock's first assignment on
14   Guam where he worked in parishes and schools. In orabout September 30,2018, Maddock died around the
15   age of 81 years old. If not deceased, Maddock would have been individually responsible and liable, inwhole
16   or in part, directly orindirectly, for the wrongful acts complained of herein.
17           9.   Defendant-entities named hereinas DOES 1-5, inclusive, areor, at all times relevanthereto,

18   were insurance companies that provided general liability coverage and/or excess level liability coverage
19   pursuant to policies issued tothe Capuchins, Agana Archdiocese, and/or Roman Catholic Church ofGuam.
20   Defendant-individuals named here-inas DOES 6-50, inclusive,are at alltimes relevanthereto, were agents,

21   employees, representatives and/or affiliated entities ofthe Capuchins, Agana Archdiocese and/or Roman
22   Catholic Church outside of Guam whose true names and capacities are unknown to L.J.A. whotherefore
23   sues such defendants by such fictitious names, and whowill amend the Complaint to show thetrue names
24   and capacities of each such Doe defendant when ascertained. DOES 6-50 assisted, aided and abetted and/or
25   conspired with Maddock and/or other members ofthe Agana Archdiocese and/or the Capuchins to conceal,
26   disguise, cover up, and/or promote the wrongful acts complained of herein. As such, each such Doe is legally
27   responsible in some manner for the events, happenings, and / ortortious and unlawful conduct that caused
28   the injuries anddamages alleged in this Complaint.




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 1              10. Eachdefendant is the agent, servant and/or employee of otherdefendants, and eachdefendant

 2   was acting within the course and scope ofhis, her or its authority as anagent, servant and/or employee ofthe
 3   other defendants. Defendants, and each ofthem, are individuals, corporations, alter egos and partnerships of
 4   each other andother entities which engaged in, joined in and conspired withthe other wrongdoers in
 5   carrying out the tortious and unlawful activities described in this Complaint; and defendants, each of them,

 6   ratified the acts of the otherdefendants as described in this Complaint.

 7              11. At the time L.J.A. was sexuallyabusedby Maddock, Defendants knew or should have known

 8   that Maddock posed a threat of foreseeable harmto L.J.A. and other children, but they failedto take

 9   reasonable steps to protect L.J.A. from that harm.

10                                                          III.
                                         INTRODUCTORY ALLEGATIONS
11
     A. Culture of Sexually Predatory Behavior
12
                12. Since the inception of the priesthood many centuries ago, becoming a Catholic priest has
13
     required numerous vows to betaken among them a vow of celibacy, obedience to the laws of both God and
14
     society, and a variety of responsibilities that elevated priests, nuns, and entities thatutilized the services of
15
     priests and nuns, toa high status inthe community, which has induced parents to entrust their children tothe
16
     care ofpriests and likewise induced children to submit to the commands and will of priests.
17
                13. Thecreation of the ritual of altar boyservice as a component of the Catholic mass andother
18
     religious services with the Catholic Church, if not originally conceived assuch, ultimately became a tool by
19
     which sexually predatory priest would gain access toyoung boys and such access was disguised inthe form
20
     ofprivileged opportunities by which the church invited certain young boys to serve asaltar boys, an
21
     opportunity that was viewed as a respectable and distinguished role for a young boy inthe community and
22
     gave the boy status ofwearing liturgical apparel during church services and working side byside with the
23
     priests.
24
                14. Further disguising thescheme to have sexual access to young boys was theritual of requiring
25
     altar boys to spend the night at the church rectory, ostensibly to facilitate preparation forthe following
26
     morning church services. Bypresenting the overnight requests in thismanner, priests routinely gained the
27
     approval of parents; and oftentimes the sexual abuses occurred during the night in their beds at the priests'
28
     residences. These seemingly routine practices of having altarboys stay overnight served the predatory priests




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 1   with asteady supply of victims under the auspices and pretense of formal church protocol, which allowed the
 2   Church to continually operate averitable harem of young boys who were readily available to pedophiles who
 3   utilized the stature of the church into deceiving the community to regard them as high-level officials.

 4           15. The systematic and ongoing pattern of sexual abuse of youngchildren was characteristic of an

 5   internal society withinDefendants Agana Archdiocese and Capuchins andwhose norms werebased on

 6   pedophilic conduct disguised by the rituals and pageantry of liturgical services, together with the aura of

 7   prestige that was inculcated in the communityandwhich caused Catholic parishioners to place the highest

 8   level of confidence andtrust in the church and its clergy. This internal society of sexual corruption sustained

 9   itselfthrough a conspiratorial arrangement between priests and higher officials in the Agana Archdiocese

10   and Capuchins whereby they all understood and agreed to remain quiet about each other's sexual abuse

11   misconduct, to tolerate such misconduct,and to withhold information about such misconduct from third

12   parties including victim's parents or guardians and law enforcement authorities, in order to protect the
13   offenders and the Agana Archdiocese and Capuchins, thereby placing their loyalty above their dutyto

14   protect the minor children and their legal responsibilities.
15           16. These sexually predatory norms were an integral part of the standards and culture generated by
16   the central authority of the Roman Catholic Church based inVatican City, Italy, which closely controlled the
17   operations ofthe Agana Archdiocese and Capuchins, and which aided and abetted such sexually predatory
18   and abusive practices by priests by knowingly tolerating such actions, failing to manage the Agana
19   Archdiocese and Capuchins to prevent sexual misconduct, and engaging inactions to protect and shield
20   priests through such policies as transfers toother jurisdictions, maintaining an internal code of silence, and
21   choosing to remain willfully blind tothe ongoing sexual misconduct committed by Catholic priests.
22            17. These sexually predatory norms were also an integral part of the long-term relationship between
23   the Agana Archdiocese and the Capuchins which fostered an environment conducive tothe sexual abuse of
24   young boys onGuam and exploited thetrust placed inthe church by the community of Guam, while the
25   Agana Archdiocese and theCapuchins tolerated and remained willfully blind to the rampant sexual abuse
26   thatwas perpetrated on anongoing basis.

27   //

28   //




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 1   B. Sexual Abuse Inflicted on Plaintiff L.J.A.

 2            18. L.J.A. was raised in a religious family. Throughout his life, L.J.A.'s parents were devout
 3   Catholics and attended mass on a regular basis.

4             19. As a youngchild L.J.A. became an altarboy at the St. Francis of Assisi Catholic Church

5    ("Yona Parish").

6            20. In or about 1978 or 1979, around the age of nine (9) or ten (10) years old, L.J.A.was sexually

7    abused by Maddock, who was a Capuchin Priestat the YonaParishduring this time period.

8            21. On numerous occasions, Maddock would take L.J.A. and the other altar boys to swim at the

9    beach after Sundaymass.

10           22. Oneday, while at the beach, Maddock tookL.J.A. to the deep part of the waterand allowed

11   L.J.A. to climb on his backbecause L.J.A. was still learning howto swim. While in the deep part of the

12   water, Maddock removedL.J.A.'s shorts and beganto masturbate him.

13           23. On several occasions, Maddock wouldalso force L.J.A. to removehis pants and using his hands

14   Maddock would spankL.J.A. on his barebutt.

15            24. This incident affected L.J.A.'s performance as an altar boy. Hewalked around in fear andhad
16   anxieties about seeing Maddock. Although hetried his best to avoid him, whenever he did see him walking
17   around or when theymade eyecontact, L.J.A. became frightened.

18            25. Upon information and belief, other priests and representatives ofthe Capuchins and the Agana
19   Archdiocese, including Archbishop Anthony S.Apuron and other individuals named herein as Doe
20   defendants, were aware of the sexual abuse committed by Maddock and deliberately remained quiet and

21   withheld suchinformation from thirdparties including victim'sparents or guardians and lawenforcements

22   authorities, in order to protect Maddock, the Agana Archdiocese and the Capuchins, thereby placing their
23   loyalty above their duty to protect the minor children and their legal responsibilities.
24            26. At all times relevant hereto, Maddock, prior to his death, sexually abused andmolested L.J.A.

25   whenL.J.A. was a minor and committed such acts whileservingas a Capuchin Priest in the Yona Parish, in

26   hiscapacity as an agent andemployee of theAgana Archdiocese andthe Capuchins, which arevicariously
27   liable for his actions.

28




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 1           27. The Agana Archdiocese, Capuchins, and DOES 1-50, inclusive, knew thatMaddock had

 2   sexually abused and molested L.J.A., and rather than reporting the matter to lawenforcement and without
 3   intervening so asto prevent Maddock from engaging in additional instances of sexual abuse, and without

 4   seeking to have Maddock acknowledge and take responsibility for hiswrongful actions, they assisted
 5   Maddock with the specific purpose or design to keep Maddock's misconduct hiddenandsecret; to hinder or

 6   prevent Maddock's apprehension and prosecution; andto protect the Capuchins, Agana Archdiocese, as well

 7   as the Roman Catholic church as an international institution.

 8           28. To this day, the AganaArchdiocese, Capuchins, and DOES 1-50have never contacted L.J.A.,

 9   L.J.A.' family, or children they know Maddock hadsexual contact or sexual conductwith. The Agana

10   Archdiocese, Capuchins, and DOES 1-50 have been content that anyother children that were sexually

11   abused by Maddock while hewas serving as aCapuchin Priest, will remain affected by guilt, shame and

12   emotional distress.

13           29. The criminal offense of Child Abuse is defined in 9 GCA § 31.30, which statesin pertinent part

14   as follows:
                   (a) A person is guilty of child abuse when:
15                      (1)     hesubjects achild tocruel mistreatment; or
                        (2)     having a child in hiscare orcustody orunder hiscontrol, he:
16                                           *        *        *
                                (B) subjects thatchild to cruel mistreatment; or
17                              (C) unreasonably causes or permits the physical or, emotional
                                    healthofthat child to be endangered
18
             30. Under 19 GCA § 13101, the following relevant definitions are provided:
19

20                 (b) Abused or neglected child means achild whose physical or mental health or
                       welfare is harmed orthreatened with harm by the acts or omissions of the
21                     person(s) responsible for the child's welfare;
                                             *        *        *

22                 (d) Child means a person under the age of 18 years;
                                             *        *        *

23                 (t) Harm to achild's physical health or welfare occurs inacase where there
                      exists evidence of injury, including butnot limited to:
24                                           *        *        *
                        (2) Any case where the child has been the victim of a sexual offenseas
25                          defined in the Criminal andCorrectional Code; or

26                      (3) Any case where there exists injury tothe psychological capacity of a
                              child such as failure to thrive, extreme mental distress, or gross
27                            emotional or verbal degradation as isevidenced by an observable and
                              substantial impairment in the child's ability to function within a
28                            normal range of performance with due regard tothe child's cultureQ




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 1            31. Under 9 GCA § 25A201, "sexual conduct" with a minor is defined as follows:

 2                 (o) Sexual Conduct means acts of sexual penetration, sexual contact,
                       masturbation, bestiality, sexual penetration, deviate sexual intercourse,
 3                     sadomasochistic abuse, or lascivious exhibition of the genital or pubic area
                       of a minor.
 4
              32. Under 9 GCA § 25.10(a)(8), "sexual contact"is defined as follows:
 5
                    (8) Sexual Contact includes the intentional touching of the victim's or
 6                  actor's intimate parts or the intentional touching of the clothing covering the
                    immediate area of the victim's or actor's intimate parts, if that intentional
 7                  touching canreasonably be construed as being for the purpose of sexual
                    arousal or gratification.
 8            33. Under 9 GCA § 25.20, the crime of Second Degree Criminal Sexual Misconduct withregard to

 9   a childis set forth in pertinent part as follows:

10                 (a)A person is guilty of criminal sexual conduct inthe second degree if the
                      person engages insexual contact with another person and if any of the
11                     following circumstances exists:
                         (1) that otherperson is under fourteen (14)years of age;
12                       (2)that other person is at least fourteen (14) but lessthansixteen (16)
                             years of ageand theactor is a member of the same household as the
13                           victim, or is related by bloodor affinity to the fourthdegreeto the
                             victim, or is in a position of authority overthe victim andthe actor
14                           usedthis authority to coerce the victim to submit

15            34. Under 19GCA § 13201(b), the following are required to reportchild abuse:

16                       (b) Persons required to report suspected child abuse under Subsection (a)
                             include, but are not limited to,... clergy member of any religious faith,
17                           or othersimilar functionary or employee of any church, placeof
                             worship, or other religious organization whose primary duties consist
18                           of teaching, spreading thefaith, church governance, supervision of a
                             religious order, or supervision or participation in religious ritual and
19                           worship,....

20                                                           IV.
                                               FIRST CAUSE OF ACTION
21
                                                    Child Sexual Abuse
22                                               [Against All Defendants]
23            35. Plaintiffre-alleges and incorporates by reference paragraphs 1through 34 of thisComplaint as

24   if fully set forth herein.

25            36. Defendants Agana Archdiocese, Capuchins, and DOES 1-50 (collectively "Defendants" as
26   alleged in this cause of action) arevicariously liable forthe sexual abuse committed uponL.J.A. by

27   Maddock. Public policy dictates thatDefendants should be heldresponsible for Maddock's wrongful

28   conductunderthe theory commonly referredto as Respondeat Superior.



                                                              8


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 1           37. Maddock, prior to his death, committed the offenseof Second Degree Criminal Sexual

 2   Misconduct, as set forth in 9 GCA § 25.20, by engaging in sexual contact with L.J.A. when L.J.A. was under

 3   fourteen (14) years of age.

 4           38. Maddock, prior to his death, also committed the offenseof Child Abuse, as set forth in 9 GCA §

 5   31.30, by subjecting L.J.A., who was a child atthe time pursuant to 19GCA § 13101(d) andwas under the

 6   care, custody orcontrol of Maddock, to cruel mistreatment and unreasonably causing or permitting the

 7   physical or emotional healthof L.J.A. to be endangered.

 8           39. Maddock, prior to his death, committed by his sexual abuse the tort of assault, by demonstrating

 9   anunlawful intentto inflict an immediate injury on the person of L.J.A. then present, causing L.J.A. to be in

10   fear of personal harm including sexual abuse, andas a direct andproximate result causing L.J.A. to suffer

11   general andspecial damages. By engaging in this conduct, Maddock acted with malice, oppression, and/or

12   fraud, entitling L.J.A. to exemplary and punitive damages.

13           40. Maddock, prior to his death, committedby his sexual abuse the tort of intentional infliction of

14   emotional distress. Maddock's acts andconduct in sexually abusing L.J.A. were extremeand outrageous.

15   By engaging in suchacts andconduct, Maddock intended to cause, or hadreckless disregard ofthe

16   probability of causing, L.J.A. to suffer severe emotional distress, including but not limited to great painof

17   mind andbody, shock, physical manifestations of emotional distress, embarrassment, loss of self-esteem,

18   disgrace, humiliation, andloss of enjoyment of life. As anactual andproximate result of Maddock's

19   extreme andoutrageous actsand conduct, L.J.A. suffered andcontinues to suffer severe emotional distress.

20   As a direct andproximate result of Maddock's acts andconduct, L.J.A. suffered general and special

21   damages. By engaging in this conduct, Maddock acted with malice, oppression, and/or fraud, entitling

22   L.J.A. to exemplary and punitivedamages.

23           41. As a direct andproximate consequence of Maddock's misconduct, L.J.A. was an abused or

24   neglected childwithin the meaning of 19GCA § 13101(b) because his physical or mental healthorwelfare

25   was and continuesto be harmed by the acts or omissions of Maddock, who was responsible for the child's

26   welfare. Moreover, as Maddock's misconduct constitutes the commission of one or more criminal offenses,

27   L.J.A. has sufferedharmto a child's physical healthor welfarewithin the meaning of 19 GCA § 13101(t)(2)

28   because L.J.A. was the victim of a sexual offense as defined in the Criminal and Correctional Code (9 GCA)


                                                            9


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 1           42. For the reasons set forth in the incorporated paragraphs of this Complaint, the sexual abuse of

 2   L.J.A. arose from andwasincidental to Maddock's agency andemployment withtheAgana Archdiocese

 3   and theCapuchins, andwhile Maddock, was acting within the scope of his agency andemployment with the
4    AganaArchdiocese and the Capuchins at the time he committed the acts of sexual abuse, which were

 5   foreseeable to Defendants.

6            43. Defendants ratified and/or approved of Maddock's sexual abuse by failing to adequately

 7   investigate, discharge, discipline and/or supervise Maddock and otherpriestsknownby Defendants to have

 8   sexually abused children, or to have been accusedof sexually abusingchildren; by concealingevidenceof

 9   Maddock's sexual abuse; failing to intervene to prevent ongoing and/orfurthersexual abuse; by failing to

10   reportthe sexualabuse as required under 19GCA § 13201(b); by allowing Maddockto continue in service

11   as a Capuchin Priestworking for the Agana Archdiocese and the Capuchins.

12           44. Despite the pretense of policies andprocedures to investigate and address instances of child

13   sexual abuse by priests, Defendants in fact implemented suchpolicies and procedures for no otherpurpose

14   thanto avoid scandal, maintain secrecy andpreserve loyalty to fellow clergy, including childmolesting

15   clergy, rather than theprotection of children. Such hypocritical conduct byDefendants has served to

16   systematically encourage, perpetuate and promote sexually abusive conduct by priests in theAgana

17   Archdiocese and the Capuchins.

18           45. Defendants either hadactual knowledge of Maddock's sexual abuse of L.J.A., or could have

19   and should have reasonably foreseen thatMaddock would commit sexual abuse to L.J.A. in thecourse of his
20   employment asa Capuchin Priest inthe Yona Parish, asanagent and employee oftheAgana Archdiocese
21   andthe Capuchins.

22           46. As a direct andproximate result of theDefendants' above-described conduct, L.J.A. has

23   suffered, and continues to suffer, great pain of mind and body, shock, emotional distress, physical
24   manifestations of emotional distress, embarrassment, loss of self-esteem, disgrace, humiliation, and loss of

25   enjoyment of life; andhas incurred and/or will continue to incur expenses for medical andpsychological
26   treatment, therapy and counseling.

27           47. By engaging in the conduct described herein, Defendants actedwith malice, oppression, and/or

28   fraud, entitlingL.J.A. to exemplary and punitivedamages.


                                                           10


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 1                                                   V.
                                           SECOND CAUSE OF ACTION
 2
                                                       Negligence
 3                                             [Against All Defendants]
 4            48. Plaintiffre-alleges and incorporates byreference paragraphs 1through 47 of this Complaint as
 5   if fully set forth herein.

 6            49. Defendants AganaArchdiocese, Capuchins, and DOES 1-50 (collectively "Defendants" as

 7   allegedin this cause of action) had a duty to protectL.J.A. when he was entrustedto Maddock's care by

 8   L.J.A.' parents and/orguardians. L.J.A.' care, welfare, and/orphysical custody were temporarily entrusted to

 9   Defendants, and Defendants accepted the entrusted care of L.J.A. As such,Defendants owedL.J.A., as a

10   child at the time, a special dutyof care, in addition to a duty of ordinary care, and owed L.J.A. the higher

11   duty of care that adults dealing withchildren owe to protect them from harm.

12            50. Byvirtue of hisunique authority and position as a Roman Catholic and Capuchin Priest,
13   Maddock was able to identify vulnerable victims and their families upon which hecould perform such sexual
14   abuse; to manipulate his authority to procure compliance with his sexual demands from his victims; to
15   induce the victims to continue to allow the abuse; and to coerce them not to report it to any other persons or
Ig   authorities. As a Capuchin Priest, Maddock had unique access toa position ofauthority within Roman
17   Catholic families like the family ofL.J.A. Such access, authority, and reverence were known tothe
18   Defendants andencouraged by them.
19            51. Defendants, by and through their agents, servants and employees, knew orreasonably should
20   have known ofMaddock's sexually abusive and exploitative propensities and/or that Maddock was anunfit
21   agent. Itwas foreseeable that ifDefendants did not adequately exercise orprovide the duty ofcare owed to
22   children intheir care, including but not limited toL.J.A., the children entrusted to Defendants' care would be
23   vulnerable to sexual abuse by Maddock.
24            52. Defendants breached their duty ofcare tothe minor L.J.A. byallowing Maddock to beinthe
25   company ofminor children, including L.J.A., without supervision; byfailing to adequately supervise, or
26   negligently retaining Maddock whom they permitted and enabled to have access to L.J.A.; byfailing to
27   properly investigate; byfailing to inform or concealing from L.J.A., L.J.A.'s parents, guardians, or law
28   enforcement officials thatMaddock wasor may have been sexually abusing minors; by failing to provide a
     safeenvironment; by holding outMaddock to L.J.A., L.JA.'s parents or guardians, andto the community of
                                                            11


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 1     Guam at large, as being in good standing andtrustworthy as a person of stature and integrity. Defendants

 2     cloaked within the facade of normalcy Maddock's contactwith L.J.A. and/or with other minors who were

 3     victims of Maddock, and deliberately concealed and disguised the sexual abuse committed by Maddock.

 4              53. As a direct and proximate result of the Defendants' above-described conduct, L.J.A. has

 5     suffered, and continues to suffer, great pain of mind and body, shock, emotional distress, physical

 6     manifestations of emotional distress, embarrassment, loss of self-esteem, disgrace, humiliation, and loss of

 7     enjoyment of life; and has incurred and/orwill continue to incur expenses for medical and psychological

 8     treatment, therapy and counseling.

 9              54. By engaging in the conduct described herein, Defendants acted with malice, oppression, and/or

10     fraud, entitlingL.J.A. to exemplary and punitive damages.

ii !                                                          vi.
                                              THIRD CAUSE OF ACTION
12
                                                  Negligent Supervision
13                                               [Against All Defendants]
14              55. Plaintiff re-alleges and incorporates by reference paragraphs 1 through 54 of this Complaint as

15     if fully set forth herein.

16              56. Defendants Agana Archdiocese, Capuchins, and DOES 1-50 (collectively "Defendants" as

17     alleged in this cause of action) had a duty to provide reasonable supervision of both Maddock and minor

18     child, L.J.A.; to use reasonable care in investigating Maddock; andto provide adequate warning to L.J.A.,

19     L.J.A.' family, and to families of other children who were entrusted to Maddock, of Maddock's sexually

20     abusive and exploitative propensities and unfitness.

21 |            57. Defendants, by and through their agents, servants and employees, knew orreasonably should
22     have known of Maddock's sexually abusive and exploitative propensities and/or that Maddock was an unfit

23     agent. Despite such knowledge, Defendants negligently failed to supervise Maddock in his position of trust

24     and authority as a Capuchin Priest, where he was able to commit the wrongful acts against L.J.A. alleged

25     herein. Defendants failed to provide reasonable supervision of Maddock, failed to use reasonable care in

26     investigating Maddock, and failed to provide adequate warning to L.J.A. and L.J.A.' family regarding

27     Maddock's sexually abusive and exploitative propensities and unfitness. Defendants further failed to take

28     reasonable measures to prevent future sexual abuse.


                                                              12


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 1            58. As a directand proximate resultof the Defendants' above-described conduct, L.J.A. has

 2   suffered, and continues to suffer, great pain ofmind and body, shock, emotional distress, physical
 3   manifestations of emotional distress, embarrassment, loss of self-esteem, disgrace, humiliation, and lossof

 4   enjoyment of life; andhas incurred and/or will continue to incur expenses for medical andpsychological
 5   treatment, therapy and counseling.

 6           59. By engaging in the conduct described herein, Defendants actedwith malice, oppression, and/or

 7   fraud, entitling L.J.A. to exemplary and punitive damages.

 8                                                       vn.
                                          FOURTH CAUSE OF ACTION
 9
                                          Negligent Hiring And Retention
10                                            [Against AllDefendants]
11           60. Plaintiffre-alleges and incorporates by reference paragraphs 1 through 59 of this Complaint as

12   if fullyset forth herein.

13           61. Defendants Agana Archdiocese, Capuchins, andDOES 1-50 (collectively "Defendants" as

14   alleged inthis cause of action) had a duty not to hire and/or retain Maddock in light of hissexually abusive

15   and exploitative propensities.

16           62. Defendants, by and through their agents, servants and employees, knew or reasonably should
17   have known of Maddock's sexually abusive and exploitative propensities and/or thatMaddock was an unfit
18   agent. Despite such knowledge and/or anopportunity tolearn ofMaddock's misconduct, Defendants
19   negligently hired and retained Maddock inhis position oftrust and authority as a Capuchin Priest, where he
20   was able to commit thewrongful acts against L.J.A. alleged herein. Defendants failed to properly evaluate
21   Maddock's application for employment byfailing to conduct necessary screening; failed toproperly evaluate
22   Maddock's conduct and performance asanemployee ofDefendants; and failed to exercise the due diligence
23   incumbent upon employers to investigate employee misconduct, orto take appropriate disciplinary action,
24   including immediate termination and reporting and referral ofMaddock's sexual abuse to appropriate
25   authorities. Defendants negligently continued to retain Maddock in service as a Capuchin Priest, working
26   for Defendants, which enabled himto continue engaging in the sexually abusive and predatory behavior

27   described herein.

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                                                           13


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 1            63. As a direct and proximate result of the Defendants' above-described conduct, L.J.A. has

 2   suffered, and continues to suffer, great pain ofmind and body, shock, emotional distress, physical
 3   manifestations of emotional distress, embarrassment, loss of self-esteem, disgrace, humiliation, andlossof

4    enjoyment of life; andhas incurred and/or will continue to incur expenses for medical andpsychological

5    treatment, therapy and counseling.

6             64. By engaging in the conduct described herein, Defendants actedwith malice, oppression, and/or

7    fraud, entitling L.J.A. to exemplary and punitive damages.

8                                                        VHI.
                                            FIFTH CAUSE OF ACTION
9
                              Breach of Fiduciary Duty And/Or Confidential Relationship
10                                             [Against AllDefendants]
11            65. Plaintiffre-alleges andincorporates by reference paragraphs 1 through 64 of this Complaint as

12   if fully set forth herein.

13            66. By holding Maddock outas a qualified Capuchin Priest anda person of stature andintegrity
14   within the Catholic Archdiocese, Defendants Agana Archdiocese, Capuchins, andDOES 1-50, together with

15   Maddock himself, invited, counseled, encouraged andinduced the Catholic community of Guam, including

16   children and parents orguardians ofchildren, and particularly parents or guardians of children who were
17   parishioners and members ofthe Catholic church volunteering their services, to have trust and confidence in
18   the Agana Archdiocese, the Capuchins, and their priests, and to entrust their children to the company of
19   priests and specifically toMaddock, including allowing their children to bealone with Maddock without
20   supervision and to reside at a church facility with Maddock to learn about the priesthood. Through such
21   actions, Defendants collectively created and entered into a fiduciary and/or confidential relationship with its
22   parishioners, including Catholic parents orguardians and their children, and inparticular, children who
23   provided services to the Agana Archdiocese and the Capuchins, and resided at a church facility to learn
24   about the priesthood. Accordingly, Defendants collectively created and entered into a fiduciary and/or
25   confidential relationship specifically with the minorchildL.J.A.

26            67. Through suchfiduciary and/or confidential relationship, Defendants collectively caused parents

27   or guardians to entrust theirchildren to priests, andspecifically to Maddock, including the parents of L.J.A.,

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                                                           14


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 1   which resulted inL.J.A. residing at church facility with Maddock to learn about the priesthood, resulting in
 2   the subjectacts of sexual abuse described herein.

 3            68. Defendants collectively breached their fiduciary and/or confidential relationship with theminor
 4   child L.J.A. byviolating the trust and confidence placed inthem byparishioners and specifically bythe
 5   minor child L.J.A., andby engaging in thewrongful acts described in this Complaint.

 6            69. As a direct and proximate result of the Defendants' above-described conduct, L.J.A. has

 7   suffered, andcontinues to suffer, great painof mind andbody, shock, emotional distress, physical

 8   manifestations of emotional distress, embarrassment, loss of self-esteem, disgrace, humiliation, and lossof

 9   enjoyment of life; and has incurred and/or willcontinue to incur expenses for medical andpsychological

10   treatment, therapy and counseling.

11            70. By engaging in the conduct described herein, Defendants acted with malice,oppression, and/or

12   fraud, entitling L.J.A. to exemplary and punitive damages.

13                                                        IX.
                                            SIXTH CAUSE OF ACTION
14
                                     Intentional Infliction of Emotional Distress
15                                             [Against AllDefendants]
16            71. Plaintiffre-alleges and incorporates by reference paragraphs 1 through70 of this Complaint as

17   if fully set forth herein.

18            72. The acts and conductof the AganaArchdiocese, Capuchins, and DOES 1-50in providing

19   Maddock, a sexual predator to children, with direct access to children including L.J.A., and refusing to report

20   or stophis sexual abuses, were extreme and outrageous.

21            73. By engaging in suchacts and conduct, the Agana Archdiocese, Capuchins, andDOES 1-50

22   intended to cause, or had reckless disregard of the probability of causing, L.J.A. to suffer severeemotional

23   distress, including but not limitedto greatpain of mind and body, shock,physicalmanifestations of

24   emotional distress, embarrassment, loss of self-esteem, disgrace, humiliation, and loss of enjoymentof life.

25            74. As an actual and proximate result of this extremeand outrageous acts and conduct,L.J.A. was

26   sexuallyabused and suffered and continues to suffer severe emotional distress.

27            75. As a direct and proximate result of these acts and conduct, L.J.A. suffered general and special

28   damages.


                                                           15


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 1 I           76. Byengaging in the conduct described herein, the Agana Archdiocese, Capuchins, and DOES 1-
 2     50 acted with malice, oppression, and/or fraud, entitling L.J.A. to exemplary and punitive damages.

 3                                                           X.
 4                                              REQUEST FOR RELIEF
       WHEREFORE, Plaintiff L.J.A. requests judgment againstall Defendants on all counts as follows:
 5

               1.   For all general, special, exemplary and punitive damages, as allowed by law in a sum to be
 6

                    proven at trial and in an amount not less than $5,000,000;
 7

               2.   For costs and fees incurred herein;
 8

               3.   Attorneys' fees, as permitted by law; and
 9

               4.   For other such and further relief as the Court may deem just and proper.
10

                                                      X.
11
                                             DEMAND FOR JURY TRIAL

12

               Plaintiff L.J.A., through his counsel, David J. Lujan, hereby demands a jury trial of six (6) in the
13

       above-entitled action, pursuant to Federal Rule of Civil Procedure 48(a).
14


15
               Respectfully submitted this '2-S~T-—. day of P^LiTO*^1^^^ ,2018.
                                                          LUJAN & WOLFF LLP
16

17


18
                                                          DAVID J. LUJAN
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                                                          Attorneysfor PlaintiffL.J.A.
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 1                                                 VERIFICATION

 2
             L.J.A. declares and states that she is the PLAINTIFF in the foregoing COMPLAINT; that she has
 3
     read said COMPLAINT and knows the contents thereof to be true and correct, except as to the matters which
 4
     may have been stated upon his infonnation and belief; and as to those matters, she believes them to be true.
 5
             I declare under penalty ofperjury under the laws ofthe United States, this 23rd day of October,
 6

 7
     2018, that the foregoing is true and correct to the best of my knowledge.

 8

 9
                                                                                 LlfX
                                                                                 L.J.A.
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